  1   Russell Brown
      CHAPTER 13 TRUSTEE
  2   Suite 800
      3838 North Central Avenue
  3   Phoenix, Arizona 85012-1965
      602.277.8996 x 320
  4   mail@ch13bk.com
  5

  6
                               UNITED STATES BANKRUPTCY COURT

  7                                      DISTRICT OF ARIZONA

  8
      In re                                               Chapter 13
  9                                                       Case No. 2-15-bk-15653 PS
      CATHERINE ANNE WILLIAMSON,
 10                                                       TRUSTEE'S MOTION TO DISMISS
                                                          CASE FOR DELINQUENT PLAN
 11
                                                          PAYMENTS AND FAILURE TO
 12                                                       PROVIDE COPIES OF TAX

 13                            Debtor.                    Deadline: September 07, 2020

 14      Russell Brown, CHAPTER 13 TRUSTEE, pursuant to 11 U.S.C. § 1307(c), moves to

 15 dismiss the case. The Debtor has defaulted in plan payments in the amount of $52,457.25. Also,

 16 the Trustee has not received from the Debtor the income tax returns for 2019.

 17      Pursuant to Local Rule 2084-15, the Court will grant the Trustee's motion unless by

 18 September 07, 2020, the Debtor:

 19      (1) Brings the Plan payments current and provides copies of the tax returns to the Trustee;
 20      (2) Files a Notice of Conversion to Chapter 7 and serves a copy on the Trustee; or
 21      (3) Files a modified plan containing a motion for a moratorium of the delinquent plan
 22 payments or a motion for a moratorium of the delinquent plan payments, and provides a copy of

 23 the tax returns to the Trustee.
                                                                       Rachel Flinn
 24                                                                    Russell Brown, Chapter
                                                                       13 Trustee; 3838 N.
                                                                       Central Ave., Ste. 800,
 25                                                                    Phoenix, AZ 85012
                                                                       2020.08.03 16:27:02
 26                                                                    -07'00'

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Case 2:15-bk-15653-PS        Doc 284     Filed 08/04/20     Entered 08/04/20 12:27:52            Desc
                                          Page 1 of 2
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  1
    A copy of this Motion to Dismiss was
  2 mailed or emailed on the below date to:

  3

  4
           CATHERINE ANNE WILLIAMSON
           2272 SOUTH MCCLELLAND PLACE
  5        CHANDLER, AZ 85286

  6

  7

  8
            MARK D. WESBROOKS
  9         THE WESBROOKS LAW FIRM, P.L.L.
            15396 N. 83RD AVE., STE. C-100
 10         PEORIA, AZ 85381
 11         wesbrooksefax@gmail.com

 12

 13

 14                 Becky Kahlstorf
                    2020.08.04
                    12:26:21 -07'00'
 15
      B Kahlstorf
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                                                                                            In re Williamson
                                                                               Case No. 2-15-bk-15653 PS
                                                                          Trustee's Motion to Dismiss Case
Case 2:15-bk-15653-PS         Doc 284   Filed 08/04/20      Entered 08/04/20 12:27:52          Desc
                                         Page 2 of 2
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